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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of __________
                                                 __________              Texas

                  United States of America                         )
                             v.                                    )
                     Ernesto Vazquez Jr
                                                                   )      Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 December 16, 2021              in the county of                Webb           in the
     Southern          District of            Texas            , the defendant(s) violated:

            Code Section                                                     Offense Description
21 USC 952 and 963                             Knowingly and unlawfully, import, attempt to import, and conspire to import
                                               from a place outside the United States, to wit: the United Mexican States, to a
                                               place in the United States, to wit: Laredo, Texas, a controlled substance
                                               listed under Schedule II, Title II, of the Controlled Substances Act, to wit;
                                               approximately 4.85 kilograms, gross weight, of methamphetamine.




         This criminal complaint is based on these facts:
See attachment "A"




         ✔ Continued on the attached sheet.
         u

                                                                                               /s/ Brian Huffman
                                                                                              Complainant’s signature
6XEPLWWHGE\UHOLDEOHHOHFWURQLF                                                     Brian Huffman HSI Special Agent
PHDQVSHU)HG5&ULP3+6,6SHFLDO                                                      Printed name and title
$JHQW%ULDQ+XIIPDQVZRUQWRDQGVLJQDWXUH
DWWHVWHGWHOHSKRQLFDOO\RQ'HFHPEHU
DW/DUHGR7H[DV

Date:             12/20/2021
                                                                                                 Judge’s signature

City and state:                          Laredo, Texas                        Hon. Diana Song Quiroga, US Magistrate Judge
                                                                                               Printed name and title
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                                    ATTACHMENT “A”

                                            Page 1

1.   On December 16, 2021, Homeland Security Investigations (HSI), Laredo Office Special
     Agents responded to the Lincoln-Juarez International Bridge in Laredo, Texas (TX),
     regarding a seizure of methamphetamine by United States Customs and Border Protection
     (CBP) Officers. As a result, CBP Officers arrested Ernesto Vazquez Jr who was
     transporting the narcotics inside a vehicle driven by him.


2.   CBO Officer (CBPO) Santos Gallegos III explained that, on December 16, 2021, he was
     manning the primary post, at lane number nine, at the Lincoln-Juarez International Bridge.
     At approximately 1245 hours, Ernesto VAZQUEZ Jr applied for admission. When asked
     by CBPO Gallegos III where he was traveling to, VAZQUEZ Jr appeared to be very
     nervous while stating he was going to get his passport and explaining that he works in
     Wisconsin at a plant, but work was slow, so he came down to Mexico to visit his kids.
     When asked for vehicle insurance paperwork, VAZQUEZ Jr’s hands were shaking, and he
     kept fidgeting with the money and papers he had in a cupholder inside the car. While being
     walked to secondary, CBPO Gallegos III asked VAZQUEZ Jr if he had anything to declare,
     "fruits, vegetables, plants, meats, firearms, drugs, money in excess of $10,000 dollars,
     United States Dollar (USD) alcohol, tobacco or medications?" VAZQUEZ Jr stated he did
     not.


3.   While at secondary, CBPO Kassandra Guerra asked CBPO Martinez to set the vehicle
     (grey in color Mazda CX-7 bearing Texas plates NBX2956) up for a Canine inspection.
     Canine Enforcement Officer (CEO) Angel Castaneda along with his Narcotic Human
     Detection Dog (NHDD) "Karat" badge 1504040 conducted the inspection which resulted
     in an alert to the driver side rocker panel for the trained odor of narcotics. The vehicle was
     then taken for a non-intrusive inspection (NII) manned by CBPO Alexander Soler. At this
     time CBPO Soler confirmed anomalies to both the driver and passenger rocker panels.


4.   After further inspecting the vehicle, a trap door was found behind the front tire on the driver
     side. Utilizing a fiber optic scope on the rocker panel, CBP officers observed a brown in
     color bundle. A total of nine (9) bundles were retrieved from the driver side rocker
     panel area of the vehicle. A field test revealed the substance contained in the above-
     mentioned bundles contained properties similar to methamphetamine. In total,
     4.85 kilograms of methamphetamine was seized.


5.   On December 16, 2021, CBPO Bennie Rodriguez, HSI Special Agent’s (SAs) Franco
     Borreca and Brian Huffman interviewed VAZQUEZ Jr after reading his Mirada Rights to
     him. VAZQUEZ Jr voluntarily waived his Rights both verbally and in writing.
     VAZQUEZ Jr stated he drove the vehicle from Nuevo Laredo, MX to the United States
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                                  ATTACHMENT “A”

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6.   (U.S.) as a favor to a friend due to feeling pressured. VAZQUEZ Jr stated he had a feeling
     something may have been inside the vehicle before driving it into the U.S. but was unsure
     of exactly what. When notified of narcotics being located inside the vehicle, VAZQUEZ
     Jr appeared to be surprised but stated he was going to be paid $150 dollars, USD to drive
     the vehicle into the U.S. VAZQUEZ Jr initially stated he was going to drive the vehicle to
     Laredo, TX then directly back to MX after getting his passport. VAZQUEZ Jr then stated
     he was going to meet with a female at her house in Laredo, TX and transfer the vehicle to
     her. VAZQUEZ Jr then stated he was going to drive the vehicle to Houston, TX. After
     continuing to question VAZQUEZ Jr, he then said he was going to drive the vehicle to San
     Antonio, TX.
